        Case 3:09-cv-05199-MHP Document 31 Filed 03/04/11 Page 1 of 1



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 8                                 UNITED STATES DISTRICT COURT
 9                              NORTHERN DISTRICT OF CALIFORNIA
10

11   FRENCH TRANSIT, LTD.,                              Case No. CV-3:09-05199 (MHP)
12                           Plaintiff,                 [PROPOSED] ORDER OF DISMISSAL
13                    vs.
14   TOM'S OF MAINE, INC.,
15                           Defendant.
16

17            Pursuant to Fed. R. Civ. P. 41(a)(2), the parties, by and through their respective counsel,

18   have agreed to an Order dismissing this matter with prejudice and without costs. Notwithstanding
19   this dismissal with prejudice, this Court shall retain jurisdiction for the limited purpose of
20
     resolving disputes concerning the breach, enforcement or termination of, the parties’ Settlement
21
     Agreement, the terms of which are incorporated herein.
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              PURSUANT TO STIPULATION IT IS SO ORDERED.DISTR
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     DATED: 3/4/2011
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26                                                  Hon. Marilyn Hall Patel
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                                                    United States District Court Judge
27                                                                                      Patel
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                                                                   E R [PROPOSED] ORDER OF DISMISSAL
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                                                                             PREJUDICE (CV-3:09-05199 (MHP))
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